Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 1 of 32

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on February 14, 2022

UNITED STATES OF AMERICA : CRIMINAL NO. 21-cr-175 (TJK)
v. : VIOLATIONS:
ETHAN NORDEAN, : COUNT 1:
also known as “Rufio Panman,” : 18 U.S.C. § 2384
(Counts 1, 2, 3, 4, 5, 6, 7, 8, 9) : (Seditious Conspiracy)
JOSEPH BIGGS, : COUNT 2:
(Counts 1, 2, 3, 4, 5, 6, 7, 8, 9) : 18U,S.C. § 1512(k)
: (Conspiracy to Obstruct Official

ZACHARY REHL, : Proceeding)
(Counts 1, 2, 3, 4, 5, 6, 7, 8, 9) :

: COUNTS:
ENRIQUE TARRIO, : 18U.S.C. §§ 1512(c)(2), 2
also known as “Henry Tarrio” : (Obstruction of an Official Proceeding and
(Counts 1, 2, 3, 4, 5, 6, 7, 8, 9) : Aiding and Abetting)
DOMINIC PEZZOLA, : COUNT 4:
also known as “Spaz,” : 18 U.S.C. § 372
also known as “Spazzo,” : (Conspiracy to Prevent an Officer from
also known as “Spazzolini,” : Discharging Any Duties)
(Counts 1, 2, 3, 4, 5, 6, 7, 8, 9, 10)

: COUNT 5:
Defendants. : 18 U.S.C. §§ 231(a)(3), 2

(Obstruction of Law Enforcement During
Civil Disorder and Aiding and Abetting)

COUNTS 6, 7:
18 U.S.C. §§ 1361, 2

(Destruction of Government Property and
Aiding and Abetting)

COUNTS 8, 9:

18 U.S.C. § 111(a)Q@)

(Assaulting, Resisting, or Impeding
Certain Officers)
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 2 of 32

COUNT 10:

18 U.S.C. § 2112

(Robbery of Personal Property of the
United States)

THIRD SUPERSEDING INDICTMENT

The Grand Jury charges that, at all times material to this Indictment, on or about the dates

and at or about the times stated below:

Introduction
The Transfer of Presidential Power in the United States

1. The 2020 United States Presidential Election occurred on November 3, 2020. As of
November 7, 2020, the incumbent President Donald J. Trump was projected to have lost the
Presidential Election. '

2. The United States Constitution and federal TaRTES codify the procedures and dates
governing the transfer of presidential power in the United States. The Twelfth Amendment
requires presidential electors to meet in their respective states and certify “distinct lists of all

i

persons voted for as President, and of all persons voted for as Vice-President, and of the number
of votes for each.”

3. On December 14, 2020, the presidential electors of the Electoral College met in the
state capital of each state and in the District of Columbia and formalized the result of the 2020
U.S. Presidential Election: Joseph R. Biden Jr. and Kamala D. Harris were declared to have won
sufficient votes to be elected the next President and Vice President of the United States.

4, The Twelfth Amendment also requires that the Vice President “shall, in the
presence of the Senate and House of Representatives, open all the certificates and the votes shall
then be counted.” Title 3, Section 15 of the United States Code provides that the United States

Congress must convene during a joint session proceeding (“the Joint Session”) at 1:00 p.m. “on
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 3 of 32

the sixth day of January succeeding every meeting of the electors,” with the Vice President
presiding, to count the electoral votes, resolve any objections, certify their validity, and announce
the result (“Certification of the Electoral College vote”).

Background

5. ENRIQUE TARRIO, ETHAN NORDEAN, JOSEPH BIGGS, ZACHARY REHL,
DOMINIC PEZZOLA, Charles Donohoe, and other individuals known and unknown to the grand
jury, are affiliated through their membership in the Proud Boys organization. The Proud Boys
describes itself as a “pro-Western fraternal organization for men who refuse to apologize for
creating the modern world; aka Western Chauvinists.” Proud Boys members routinely attend
rallies, protests, and other events, some of which have resulted in violence involving members of
the group. There is an initiation process for new members ofthe Proud Boys, and members often
wear black and yellow polo shirts or other apparel adorned with Proud Boys logos and slogans to
public events.

6. Through at least January 6, 2021, ENRIQUE TARRIO was the national chairman
of the Proud Boys organization. Throughout the United States, there are local Proud Boys chapters,
which are typically led by chapter “presidents.” Each chapter has a degree of autonomy insofar as
the president of a local chapter governs that chapter in its geographic location.

7. ETHAN NORDEAN, also known as “Rufio Panman,” is a 31-year-old resident of
Auburn, Washington. On January 6, 2021, NORDEAN was a member of the Proud Boys Elders
chapter and president of his local chapter.

8. JOSEPH BIGGS, also known as “Sergeant Biggs,” is a 38-year-old resident of
Ormond Beach, Florida. On January 6, 2021, BIGGS was a member of the Proud Boys and a self-

described organizer of certain Proud Boys events.
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 4 of 32

9. ZACHARY REHL is a 36-year-old resident of Philadelphia, Pennsylvania. On
January 6, 2021, REHL was the president of his local chapter of the Proud Boys.

10. ENRIQUE TARRIO is a 38-year-old resident of Miami, Florida. On January 6,
2021, TARRIO was the national chairman of the Proud Boys.

11. DOMINIC PEZZOLA, also known as “Spaz,” also known as “Spazzo,” also
known as “Spazzolini,” is a 44-year-old resident of Rochester, New York, and a member of his
local chapter of the Proud Boys.

12. | Charles Donohoe is a 34-year-old resident of Kenersville, North Carolina. On
January 6, 2021, Donohoe was the president of his local chapter of the Proud Boys.

13, From at least in or around November 2020, TARRIO used his platform as the leader
of the Proud: Boys to publicly post-statements in response to the projected results of the 2020
Presidential Election, e.g.:

a. On November 6, 2020, TARRIO posted a message that read, “The media constantly
accuses us of wanting to start a civil war. Careful what the fuck you ask for we
don’t want to start one...but we will sure as fuck finish one.”

b. On November 12, 2020, TARRIO posted a message that read, “Fuck Unity. No
quarter. Raise the black flag.”

c. On November 16, 2020, TARRIO posted a message that read, “If Biden steals this
election, [the Proud Boys] will be political prisoners. We won’t go quietly...I
promise.”

d. On November 25, 2020, TARRIO reposted a social media post by Joe Biden that

stated, “We need to remember: We’re at war with a virus — not with each other.”
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 5 of 32

14.

TARRIO then posted, “No, YOU need to remember the American people are at
war with YOU. No Trump...No peace. No quarter.”

From at least in or around November 2020, NORDEAN, BIGGS, and REHL used

their platform as regional leaders of the Proud Boys to publicly post statements in response to the

projected results of the 2020 Presidential Election, e.g.:

a.

oy

On November 5, 2020, BIGGS posted on social media, “It’s time for fucking War
if they steal this shit,” referring to the Presidential election.

On November 24, 2020, BIGGS, in response to a social media post calling for unity
in response to the results of the presidential election, posted, “No bitch. This is
war.”

On November 27, 2020, NORDEAN posted on social media, “We tried playing
nice and by the rules, now you will deal with the monster you created. The spirit of
1776 has resurfaced and has created groups like the Proudboys and we will not be
extinguished. We will grow like the flame that fuels us and spread like love that
guides us. We are unstoppable, unrelenting and now . . .unforgiving. Good luck to
all you traitors of this country we so deeply love . . . you’re going to need it.”

On November 27, 2020, REHL posted on social media, “Hopefully the firing
squads are for the traitors that are trying to steal the election from the American

people.”

On December 12, 2020, TARRIO and other members of the Proud Boys attended

an election-related rally, sometimes referred to as a “Million MAGA” rally, in Washington, D.C.

The December 12 rally was organized as a protest of the presidential election, and the date of the

protest coincided with the certification of the Electoral College results in each of the fifty states.
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 6 of 32

16. While in Washington, D.C. on December 12, 2020, several Proud Boys were
involved in an altercation in which Proud Boys members were injured, including a knife wound
suffered by PERSON-1.

17. While in the District of Columbia on December 12, 2020, TARRIO participated
with a group that included members of the Proud Boys in the theft and destruction of a banner that
read, “#BLACKLIVESMATTER,” which was property of Asbury United Methodist Church in
Washington, D.C.

18. On December 17, 2020, TARRIO posted a message on social media in which he
admitted that he was the “person responsible for the burning” of the banner. TARRIO claimed that
he took action because he would not “standby and watch them burn another city.” TARRIO ended
his message by stating, “Come get me if you feel like what I did was wrong. We’|l let the public
decide.”

19, On December 19, 2020, plans were announced for a Stop the Steal protest event in
Washington, D.C., on January 6, 2021, to coincide with Congress’s Certification of the Electoral
College vote.

20. Beginning in late December 2020, TARRIO and a handful of other members of the
Proud Boys created a new chapter for the Proud Boys that would consist of members from across
the country. The new chapter was referred to as the Ministry of Self Defense or MOSD (““MOSD”).
TARRIO described the MOSD as a “national rally planning” chapter that would include only
“hand selected members.”

21. The small group of leadership of the MOSD included TARRIO, NORDEAN,
BIGGS, REHL, and Donohoe. Immediately after forming the MOSD, TARRIO and the leadership

of the MOSD began preparations for January 6, 2021. TARRIO also created an encrypted
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 7 of 32

messaging group for MOSD leaders (the “MOSD Leaders Group”) where MOSD leaders could
communicate.

22. On January 4, 2021, TARRIO was arrested in Washington, D.C., and charged with
destruction of property and possession of two large capacity magazines in D.C. Superior Court.
He was briefly detained after his arrest. TARRIO was released at approximately 5 p.m. on January
5, after having been ordered to leave the District of Columbia.

23. TARRIO did not immediately comply with the order to leave the District of
Columbia. After being turned away from the Phoenix Park Hotel, TARRIO travelled to a nearby
underground parking garage, where he met with Elmer Stewart Rhodes III, the founder and leader
of the Oath Keepers, and other individuals known and unknown to the grand jury, for
approximately 30 minutes. During this encounter, a participant referenced the Capitol.

24. Thereafter, TARRIO left the District of Columbia and travelled to Baltimore,
Maryland. Subsequently, TARRIO’s designated MOSD leaders, and other individuals whose

identities are known to the grand jury, carried out the MOSD leadership’s objective.
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 8 of 32

COUNT ONE
(18 U.S.C. § 2384)
(Seditious Conspiracy)
25. The introductory allegations set forth in paragraphs | through 24 are re-alleged and
incorporated by reference as though set forth herein.
The Conspiracy
26. From in and around December 2020, through in and around January 2021, in the
District of Columbia and elsewhere, the defendants,
ETHAN NORDEAN,
JOSEPH BIGGS,
ZACHARY REHL,
ENRIQUE TARRIO,
and
DOMINIC PEZZOLA,
did knowingly conspire, confederate, and agree, with other persons known and unknown to the
Grand Jury, to oppose by force the authority of the Government of the United States and by force

to prevent, hinder, and delay the execution of any law of the United States.

Purpose of the Conspiracy

 

27. The purpose of the conspiracy was to oppose the lawful transfer of presidential
power by force, by opposing the authority of the Government of the United States and by
preventing, hindering, or delaying by force the execution of the laws governing the transfer of
power, including the Twelfth Amendment to the Constitution and Title 3, Section 15 of the United
States Code.

Manner and Means

28. TARRIO, NORDEAN, BIGGS, REHL, Donohoe, and PEZZOLA, with others

whose identities are known and unknown to the grand jury, carried out the conspiracy through the

following manner and means, among others, by:
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 9 of 32

a. Encouraging members of the Proud Boys and others to attend the Stop the Steal
protest in Washington, D.C., on January 6;

b. Using websites, social media, and other electronic communications to raise funds
to support travel and equipment purchases for the trip to Washington, D.C.,;

c. Obtaining paramilitary gear and supplies—including concealed tactical vests,
protective equipment, and radio equipment—for the January 6 attack;

d. Dressing “incognito” on January 6, rather than wearing Proud Boys colors that had
been prominently displayed at previous events;

e. Traveling to Washington, D.C., prior to the January 6 attack;

f. Engaging in meetings and encrypted communications in Washington, D.C., in the
days leading up to January 6, and on the morning of January 6, to plan for the
January 6 attack;

g. Using programmable handheld radios, encrypted messaging applications, and other
communications equipment to communicate and coordinate the January 6 attack;

h. Directing, mobilizing, and leading members of the crowd onto Capitol grounds and
into the Capitol;

i. Dismantling metal barricades that had been deployed to demarcate a restricted area
to protect law enforcement and occupants of the Capitol;

j. Storming past barricades, Capitol Police, and other law enforcement officers in
efforts to disrupt the proceedings at the Capitol;

k. Destroying property, including a metal fence and a window; and

l. Assaulting law enforcement officers.
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 10 of 32

Acts in Furtherance of the Conspiracy

29. On December 19, 2020, shortly after plans for the rally on January 6 were publicly
announced, BIGGS sent a private message to TARRIO in which he stated that the Proud Boys
“recruit losers who wanna drink.” BIGGS suggested, “Let’s get radical and get real men.”

30. The next day, on December 20, 2020, TARRIO created an encrypted message
group called MOSD, which included NORDEAN, BIGGS, REHL, Donohoe, PERSON-2, and
PERSON-3. PERSON-1 was subsequently added to the message group for MOSD leaders (the
“MOSD Leaders Group”). TARRIO explained that the MOSD was a “national rally planning
committee” of the Proud Boys that would include “hand selected members.”

31. On December 20, 2020, PERSON-3 posted a message to the MOSD Leaders Group
that stated, “I am assuming most of the protest will be at the capital building given what’s going
on inside.” In response, TARRIO proposed a video chat, which would take place on December 21,
to discuss the MOSD and January 6.

32. On December 26, 2020, TARRIO announced that the leadership of the MOSD
would reside in two, 3-man councils that would work together. The Marketing Council consisted
of TARRIO, BIGGS, and NORDEAN. The Operations Council included REHL and PERSON-3.
Other members of MOSD leadership, such as Donohoe, PERSON-1, and PERSON-2, were
designated regional leaders.

33. On December 27, 2020, TARRIO created another encrypted messaging group to
recruit potential members of the MOSD (the “MOSD Prospect Group”). TARRIO stressed that
members of the chapter were expected to follow directions of MOSD leadership, which TARRIO
and others emphasized by telling members, among other things, to “Fit in [] or fuck off.”

34. On December 27, 2020, Donohoe reposted a message to prospective members in
the MOSD Prospect Group in which he stated that the D.C. government was expected to limit

10
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 11 of 32

access to Washington, D.C., on January 6. Donohoe’s message stated “They want to limit the
presence so that they can deny Trump has the People's support. We can't let them succeed. This
government is run FOR the People, BY the People....Congress needs a reintroduction to that fact.”

35. On December 27, 2020, NORDEAN created an online crowdfunding campaign that
solicited donations for “Protective gear and communications” to be used by the Proud Boys on
January 6, 2021. NORDEAN shared a link to this crowdsourcing campaign on his social media
page and encouraged others to share it on their social media pages.

36. On December 28, 2020, TARRIO posted a message in the MOSD Prospect Group
in which he stated that the “DC trip” would consist of “two groups”—the MOSD and everyone
else—and that no one should be in colors.

37. On December 29, 2020, TARRIO posted a message on social media that the Proud
Boys planned to “turn out in record numbers on Jan 6th but this time with a twist... . We will not
be wearing our traditional Black and Yellow. We will be incognito and we will be spread across
downtown DC in smaller teams. And who knows . .. we might dress in all BLACK for the
occasion.” At different times, NORDEAN, BIGGS, REHL, and Donohoe reiterated that Proud
Boys members should avoid wearing Proud Boys colors on January 6, 2021.

38. On December 29, 2020, TARRIO posted a message to the MOSD Prospect Group
to notify prospective members of a virtual meeting on December 30 to explain “how this all
works.” TARRIO advised the group that the MOSD “will have a top down structure” and advised
prospects that, “if that’s something you’re not comfortable with” they should not bother attending
the live session. TARRIO advised that “upper tier leadership” would consist of a three-person

“Operations” section led by REHL, PERSON-3 and one other person. TARRIO advised that the

11
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 12 of 32

“Marketing” section would be led by TARRIO, BIGGS, and NORDEAN. TARRIO advised that
the “second tier” leadership would consist of eight regional members.

39. On December 29, 2020, PEZZOLA sent a direct message to TARRIO on an
encrypted messaging system: “Hey boss, [I’m] one of the guys bringing the [decorative] shield
down ... I'll be in dc wa few other brothers from NY.”

40. On December 30-31, 2020, PEZZOLA traveled to North and South Carolina, to
visit PERSON-1. PEZZOLA brought with him a decorative shield to present to PERSON-1.

41. Between December 30 and December 31, 2020, TARRIO communicated multiple
times with an individual whose identity is known to the grand jury. On December 30, 2020, this
individual sent TARRIO a nine-page document titled, “1776 Returns.” The document set forth a
plan to occupy a few “crucial buildings” in Washington, D.C., on January 6, including House and
Senate office buildings around the Capitol, with as “many people as possible” to “show our
politicians We the People are in charge.” After sending the document, the individual stated, “The
revolution is important than anything.” TARRIO responded, “That’s what every waking moment
consists of .. . I’m not playing games.”

42. On December 30, 2020, TARRIO convened a video call for prospective members
of the MOSD. TARRIO, Donohoe, and others in MOSD leadership emphasized that members of
the MOSD were to follow the commands of leadership. Once again, TARRIO and others in MOSD
leadership advised prospective members that they could “fit in or fuck off.” REHL warned
prospective members that January 6 was going to be a “completely different operation” and that

the Proud Boys would not be conducting a “night march and flexing our [arms] and shit.”

12
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 13 of 32

43. On December 30, 2020, REHL posted a link to an online fundraiser with the
campaign name of “Travel Expenses for upcoming Patriot Events.” The campaign generated over
$5,500 in donations between December 30, 2020, and January 4, 2021.

44, On December 31, 2020, TARRIO posted a picture of PEZZOLA from the
December 12 event in Washington, D.C. Along with the picture, TARRIO posted the message:
“Lords of War. #J6 #J20,” which hashtags were an apparent reference to January 6, 2021, the date
of the Certification of the Electoral College vote, and January 20, 2021, the date of the Presidential
Inauguration

45. On January 1, 2021, TARRIO posted separate messages on social media that read,
“Let’s bring this new year with one word in mind...Revolt” and later, “New Years Revolution.”

46. On January 2, 2021, TARRIO created an encrypted message group for recruits who
had been accepted to become members of the MOSD (“MOSD Members Group”). TARRIO
posted a message that read, “Open for business.” The group included at least 65 members,
including TARRIO, NORDEAN, BIGGS, REHL, Donohoe, and PERSONS 1 — 3, PEZZOLA was
subsequently added to the MOSD Members Group by PERSON-1.

47. On January 2, 2021, TARRIO provided NORDEAN with photographs of a family
member’s debit card so that NORDEAN could book his flight to Washington, D.C. NORDEAN
used the debit card to book his flight.

48. On January 3, 2021, members of the MOSD exchanged messages in the MOSD
Members Group various statements about attacking the Capitol. In response to the question, “what
would they do [if] 1 million patriots stormed and took the capital building. Shoot into the crowd?

] think not,” PERSON-3 stated, “They would do nothing because they can do nothing.”

13
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 14 of 32

49, On January 3, as efforts to plan for January 6 intensified in the MOSD leadership
chat, TARRIO stated in the MOSD Leaders Group that he wanted to wait until January 4 to make
final plans. In response, at 7:10 p.m., PERSON-3 posted a voice note to the MOSD Leaders Group

in which he stated:

I mean the main operating theater should be out in front of the house
of representatives. It should be out in front of the Capitol building.
That’s where the vote is taking place and all of the objections. So,
we can ignore the rest of these stages and all that shit and plan the
operations based around the front entrance to the Capitol building. I
strongly recommend you use the national mall and not Pennsylvania
avenue though. It’s wide-open space, you can see everything
coming from all angles.

REHL responded that the Capitol was a “good start.”
50. On January 4, 2021, TARRIO posted a voice note to the MOSD Leaders Group at

7:36 am. in which he stated, “I didn’t heat this voice note until a you want to som the
Capitol.”

51. On January 4, 2021, within one hour of TARRIO’s arrest pursuant to a warrant
issued by D.C. Superior Court, Donohoe created a new group on the encrypted messaging
application for MOSD leadership (“New MOSD Leaders Group”) that did not initially include
TARRIO. Donohoe then advised the other leaders, “Each one of us should personally clear our
history of that MOSD chat.” REHL responded, “you gotta manually delete each message from
each chat” and then added, “since [TARRIO] knew the cops were for him, hopefully he logged
outta” the encrypted messaging service. Donohoe responded, “Well at least they won’t get our
boots on ground plans because we are one step ahead of them.”

52. Donohoe then created a new group on the encrypted messaging application for the
MOSD members and advised the group to leave the earlier group because “we are nuking that

one.” PERSON-3 subsequently advised that he had “removed everyone from the other group” and

14
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 15 of 32

that it had been “nuked.” After its creation, the new MOSD members group (“New MOSD
Members Group’) included approximately 90 participants in total, including NORDEAN, BIGGS,
REHL, Donohoe, PEZZOLA, and PERSONS 1 ~ 3.

53. At 7:15 p.m. on January 4, Donohoe posted a message on New MOSD Members
Group that read, “Hey have been instructed and listen to me real good! There is no planning of any
sorts. I need to be put into whatever new thing is created. Everything is compromised and we can
be looking at Gang charges.” Donohoe then wrote, “Stop everything immediately” and then “This
comes from the top.” Donohoe’s messages in the New MOSD Members Group repeated those
posted by a participant in the MOSD Members Group.

54. On January 4, 2021, at 8:20 p.m., PERSON-2 posted a message in the New MOSD
Leaders Group: “We had originally planned on breaking the guys into teams. Let's start divying
them up and getting baofeng channels picked out.” Baofeng is a manufacturer of handheld radios
and other communications equipment.

55. On January 5, 2021, at 1:23 p.m., PERSON-1 created a new encrypted messaging
group entitled “Boots on Ground” to be used by Proud Boys members in Washington, D.C. In
total, over sixty users participated in the Boots on Ground group, including NORDEAN, BIGGS,
REHL, Donohoe, PEZZOLA, and PERSONS 1 - 3.

56. On January 5, 2021, at 5:25 p.m., BIGGS posted a message to the Boots on Ground
group that read, “Just trying to get our numbers. So we can plan accordingly for tonight and go
over tomorrow’s plan.”

57. On January 5, 2021, at 5:52 p.m., BIGGS posted a message to the Boots on Ground
group that read: “We are trying to avoid getting into any shit tonight. Tomorrow's the day” and

then “I’m here with rufio and a good group[.}”

15
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 16 of 32

58. In response to a question from a participant in the New MOSD Leaders Group,
REHL, who travelled to Washington, D.C., on January 5, 2021, stated that he was bringing
multiple radios with him, and that there was a person who was planning to program the radios later
that evening.

59. At 8:00 p.m., PEZZOLA posted a message on Boots on Ground that stated,
“Anybody need coms programmed hit me up.”

60. On January 5, 2021, at 8:27 p.m., an MOSD member who was in Washington, D.C.
with NORDEAN and BIGGS posted a message to New MOSD Members Group that read:
“Everyone needs to meet at the Washington Monument at 10am tomorrow morning! Do not be
late! Do not wear colors! Details will be laid out at the pre meeting! Come out at as patriot!’ The
same message was posted by PERSON-1 in the Boots on Ground group at 8:28 p.m.

61. At 9:03 p.m., REHL notified NORDEAN, BIGGS, Donohoe and others that he had
arrived in Washington, D.C. Donohoe responded by requesting one of the radios that REHL had
brought.

62. At 9:09 p.m., PERSON-2 broadcast a message to New MOSD Leaders Group that
read: “Stand by for the shared baofeng channel and shared zello channel, no Colors, be
decentralized and use good judgement until further orders.” PERSON-2 then stated, “Rufio
[NORDEAN] is in charge, cops are the primary threat, don't get caught by them or BLM, don't get
drunk until off the street.” PERSON-2 then provided a specific radio frequency of 477.985.
Donohoe reposted the same three messages on the New MOSD Members Group at 9:11 p.m.

63. At 9:17 p.m., BIGGS posted a message on the New MOSD Leaders Group that
read, “We just had a meeting woth a lot of guys. Info should be coming out” and then posted “Just

spoke with Enrique.”

16
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 17 of 32

64. At 9:20 p.m., PERSON-1 added TARRIO to the New MOSD Leaders Group.

65. Atapproximately 9:20 p.m., BIGGS posted a message on the New MOSD Leaders
Group that read, “We have a plan. I’m with rufio [NORDEAN].” Donohoe responded, “What’s
the plan so I can pass it to the MOSD guys.” BIGGS responded, “I gave Enrique a plan. The one
I told the guys and he said he had one.”

66. At 9:36 p.m., Donohoe added TARRIO to the New MOSD Members Group.

67. At 12:01 a.m. on January 6, 2021, TARRIO posted a message on the New MOSD
Leaders Group. At 12:03 a.m., Donohoe posted, “Standby” and then reposted the instructions that
had been issued in the Boots on Ground group and the New MOSD Members Group regarding the
plan to meet at the Washington Monument at 10 a.m.

68. -At 6:37 am. on January 6, 2021, Donohoe posted a message to the New MOSD
Leaders Group that asked, “Are we gonna do a commanders briefing before the 10 a.m.?”

69. Subsequently, Donohoe posted a message to the New MOSD Members Group and
Boots on Ground group that he was on his way to the Washington Monument. Donohoe added, “I
have the keys until Rufio [NORDEAN] and Zach [REHL] show up.”

70, On January 6, 2021, at 10:00 a.m., a group of approximately 100 Proud Boys
members gathered near the Washington Monument, including NORDEAN, BIGGS, REHL,
Donohoe, and PEZZOLA.

71. Consistent with the directive issued by TARRIO, NORDEAN, BIGGS, REHL,
Donohoe, and others, the group of men standing with NORDEAN, BIGGS, REHL, Donohoe, and
PEZZOLA were not wearing Proud Boys colors of black and yellow. Several of the men in the

group, including BIGGS and REHL, were holding walkie-talkie style communication devices that

17
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 18 of 32

members of the MOSD had helped secure. At different times, NORDEAN and BIGGS carried and
used a bullhorn to direct the group.

72. Shortly after 10 a.m., NORDEAN and BIGGS led the group away from the rally
that was taking place near the Washington Monument and to the west side of the Capitol. On
arriving at the west side of the Capitol, NORDEAN and BIGGS marched the group along First
Street, Northwest. NORDEAN and BIGGS marched the group past the pedestrian entrance to
Capitol grounds, near the Peace Monument. The First Street pedestrian entrance was guarded by
a handful of Capitol Police officers. Prominent signs posted on metal barriers at the pedestrian
entrance and other locations stated, “AREA CLOSED By order of the United States Capitol Police
Board.”

73. ° NORDEAN and BIGGS marched the group, which included Donohoe and REHL,
to the east side of the Capitol, and then back to the west side of the Capitol.

74. Around 12:00 p.m., Donohoe posted a message on a separate encrypted group chat
with Proud Boys in which he reported that the group was at the Capitol and then later, “WE ARE
WITH 200-300 PBS.”

75. Shortly before 12:53 p.m., NORDEAN, BIGGS, and REHL led the group back to
the First Street pedestrian entrance near the Peace Monument. The entrance was secured by a small
number of Capitol Police officers who were standing behind waist height metal barriers. BIGGS
led the assembled crowd in a series of chants using a megaphone. NORDEAN, REHL, Donohoe,
and PEZZOLA stood nearby.

76. Seconds before 12:53 p.m., BIGGS was approached by an individual whose
identity is known to the grand jury. The individual put one arm around BIGGS’s shoulder and

spoke to him. Approximately one minute later, this individual crossed the barrier that restricted

18
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 19 of 32

access to the Capitol grounds. This was the first barrier protecting the Capitol grounds to be
breached on January 6, 2021, and the point of entry for NORDEAN, BIGGS, REHL, Donohoe,
and PEZZOLA.

77. Immediately after the breach, NORDEAN, BIGGS, REHL, Donohoe, and
PEZZOLA, together with assembled members of the crowd, charged toward the Capitol by
crossing over the barriers meant to restrict access to the Capitol grounds.

78. NORDEAN, BIGGS, REHL, Donohoe, PEZZOLA, and other members of the
crowd, advanced toward the west plaza of the Capitol where additional metal barricades and law
enforcement were deployed to protect the Capitol and its occupants from the advancing crowd.

79. As BIGGS unlawfully advanced toward the Capitol he recorded himself stating,
“Dude, we’re right in front of the Capitol right now. American citizens are storming the Capitol—
taking it back right now. There’s millions of people out here; this is fucking crazy. Oh my God!
This is such history! This is insane. We’ve gone through every barricade thus far. Fuck you!”

80. Within minutes of unlawfully crossing onto Capitol grounds, NORDEAN, BIGGS,
REHL, Donohoe, PEZZOLA, and other Proud Boys members moved to the front of the crowd.

81. NORDEAN and BIGGS, together with other members of the crowd, tore down a
black metal fence that separated the crowd from law enforcement.

82. After tearing down the fence, NORDEAN, BIGGS, REHL, Donohoe, and
PEZZOLA, and many others who had been led by NORDEAN and BIGGS to the Capitol advanced
past the trampled barrier into the west plaza of the Capitol grounds.

83. Upon arriving at the west plaza, NORDEAN, BIGGS, REHL, Donohoe, and

PEZZOLA positioned themselves at or near the front of the crowd in the west plaza. While

19
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 20 of 32

standing at the front of the crowd opposite law enforcement in riot gear, NORDEAN and BIGGS
exchanged a hug and handshake.

84. | While standing in the west plaza of the Capitol, BIGGS took another video in which
he announced, “we’ve just taken the Capitol.”

85. Shortly after 1:00 p.m., messages were posted by PERSON-1 and PERSON-2 in
the New MOSD Leaders Group that stated, “Push inside! Find some eggs and rotten tomatoes!”
and “They deploy the mace yet.” Donohoe posted, “We are trying.”

86. PEZZOLA moved toward the front of the police line and ripped away a Capitol
Police officer’s riot shield, while the officer was physically engaging with individuals who had
gathered unlawfully into the west plaza of the Capitol.

87. Donohoe threw two water bottles at a line of law enforcement officers engaged in
the lawful performance of their official duties who were attempting to prevent the mob’s advance
in the west plaza at the Capitol.

88. Shortly thereafter, Donohoe and PEZZOLA combined to carry the riot shield
through the west plaza. After reaching the rear of the concrete area of the west plaza, Donohoe
posted a message at 1:37 p.m. that read, “Got a riot shield.” While standing at the rear of the plaza,
Donohoe took a picture of PEZZOLA holding the riot shield and making a hand gesture associated
with the Proud Boys.

89. Around the same time, NORDEAN, BIGGS, and REHL moved to the rear of the
west plaza as well. NORDEAN, BIGGS, and others then moved further away onto the lawn of the
Capitol, where, at 1:27 p.m., BIGGS filmed a selfie-style video with NORDEAN and others who

had marched with them to the Capitol in which BIGGS declared, “So we just stormed the fucking

20
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 21 of 32

Capitol. Took the motherfucking place back. That was so much fun.” BIGGS then added, “January
6 will be a day in infamy.”

90. Shortly before 2:00 p.m., NORDEAN and BIGGS had moved back toward the
Capitol and were near a set of concrete stairs that led to the Upper West Terrace of the Capitol.
Donohoe and PEZZOLA had also moved to the same area at the base of the stairs.

91. | Donohoe pushed forward to assist the crowd’s effort to advance up the concrete
stairs toward the Capitol. The crowd overwhelmed law enforcement who were attempting to stop
the crowd from advancing. BIGGS and PEZZOLA traveled up the stairway with the crowd.

92. At the top of the flight of stairs leading from the west plaza to the Capitol,
PEZZOLA shouted at Capitol Police officers attempting to prevent the crowd from advancing
further, words to the effect of, “We ain’t stopping! We ain’t fucking stopping! Fuck you! ... You
think Antifa’s fucking bad, just you wait!,” among other things.

93. At approximately 2:13 p.m., PEZZOLA used the riot shield he had taken from a
Capitol Police officer to break a window of the Capitol. The first members of the mob entered the
Capitol through this broken window.

94. Seconds later, PEZZOLA entered the Capitol through the window he had broken.
Other members of the mob entered the building and forced open an adjacent door from the inside.

95. At 2:14 p.m., BIGGS entered the Capitol through the adjacent door with other
MOSD members. Within minutes, the Senate suspended the Certification of the Electoral College
Vote.

96. | BIGGS subsequently exited the Capitol on the east side of the building, and BIGGS

and several other Proud Boys members posed for a picture at the top of the steps on the east side

21
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 22 of 32

of the Capitol. BIGGS also took a video in which he surveyed the crowd and then stated, “We’ve
taken the Capitol.”

97.  At2:36 p.m., TARRIO made a public post on social media that read, “After I finish
watching this Ill make a statement about my arrest...But for now I’m enjoying the show...Do what
must be done. #WeThePeople.”

98. | NORDEAN entered the Capitol at 2:37 p.m. where he reunited with other Proud
Boys members, who had entered the building with BIGGS.

99. At 2:38 p.m., TARRIO made a public post on social media that read, “Don’t
fucking leave.”

100. At approximately 2:39 p.m., TARRIO responded to a question posed by a Proud

Boys member—‘“Are we a militia yet?”—-with a one word voice note in which TARRIO stated,
“Yep.” TARRIO then posted two additional messages that stated, “Make no mistake...” and then
“We did this...”

101. At2:40 p.m., thirty minutes after first entering the Capitol on the west side, BIGGS
and others forcibly re-entered the Capitol through the Columbus Doors on the east side of the
Capitol, pushing past at least one law enforcement officer and entering the Capitol.

102. After re-entering the Capitol by force, BIGGS and other Proud Boys he had entered
with traveled to the Senate chamber where the Certification of the Electoral College Vote would
have been occurring, had it not been suspended due to the ongoing attack.

103. At 2:41 p.m., TARRIO made a public post on social media that read, “Proud Of
My Boys and my country.”

104. REHL entered the Capitol at approximately 2:53 p.m. through the same door first

entered by BIGGS on the west side of the building.

22
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 23 of 32

105. While NORDEAN and BIGGS were moving in and out of the Capitol, TARRIO
attempted to communicate with them by phone. TARRIO placed a phone call to NORDEAN at
2:53 p.m. and to BIGGS at 2:54 p.m. BIGGS had a 42 second call with TARRIO at 2:54 p.m.

106. At 2:57 p.m., TARRIO posted a message on social media that read, “1776” and
then “Revolutionaries are now at the Rayburn building,” which referred to a House of
Representatives office building that had been referenced in the “1776 Returns” plan received by
TARRIO on December 30, 2020.

107. At 7:39 p.m., PERSON-1 sent two text messages to TARRIO that read, “Brother.
You know we made this happen[,]” and “I’m so proud of my country today.” TARRIO responded,
“I know.” At 7:44 p.m., the conversation continued, with PERSON-1 texting, “1776
motherfuckers.” TARRIO responded, “The Winter Palace.” PERSON-1 texted, “Dude. Did we -
just influence history?” TARRIO responded, “Let’s first see how this plays out.” PERSON-1
stated, “They HAVE to certify today! Or it’s invalid.” These messages were exchanged before
the Senate returned to its chamber at approximately 8:00 p.m. to resume certifying the Electoral
College vote.

108. At11:16 p.m., TARRIO posted a message on social media that featured a video of
a masked man resembling TARRIO, wearing a flowing black cape, standing in front of a deserted
Capitol. The video was captioned, “Premonition.”

(Un violation of Title 18, United States Code, Section 2384)

23
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 24 of 32

COUNT TWO
(18 U.S.C. § 1512(k))
(Conspiracy to Obstruct an Official Proceeding)
109. Paragraphs 1 through 24 and 29 through 108 of this Indictment are re-alleged and
incorporated as though set forth herein.
110. From in and around December 2020, through in and around January 2021, in the
District of Columbia and elsewhere, the defendants,
ENRIQUE TARRIO,
ETHAN NORDEAN,
JOSEPH BIGGS,
ZACHARY REHL,
and
DOMINIC PEZZOLA,
did knowingly combine, conspire, confederate, and agree with each other and other persons known
and unknown to the Grand Jury, to corruptly obstruct, influence, and impede an official
proceeding, that is, the Certification of the Electoral College vote, in violation of Title 18, United
States Code, Section 1512(c)(2).

(In violation of Title 18, United States Code, Section 1512(k))

24
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 25 of 32

COUNT THREE
(18 U.S.C. §§ 1512(c)(2), 2)
(Obstruction of an Official Proceeding and
Aiding and Abetting)
111. Paragraphs 1 through 24 and 29 through 108 of this Indictment are re-alleged and
incorporated as though set forth herein.
112. On or about January 6, 2021, in the District of Columbia and elsewhere, the

defendants,

ENRIQUE TARRIO,
ETHAN NORDEAN,
JOSEPH BIGGS,
ZACHARY REHL,
and
DOMINIC PEZZOLA,

attempted to, and did, corruptly obstruct, influence, and impede an official proceeding, that is, the
certification of the Electoral College vote, and did aid and abet others known and unknown to the

grand jury to do the same.

(In violation of Title 18, United States Code, Sections 1512(c)(2), 2)

25
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 26 of 32

COUNT FOUR
(18 U.S.C. § 372)
(Conspiracy to Prevent an Officer from Discharging Any Duties)
113. Paragraphs 1 through 24 and 29 through 108 of this Indictment are re-alleged and
incorporated as though set forth herein.
114. From in and around December 2020, through in and around January 2021, in the
District of Columbia and elsewhere, the defendants,
ENRIQUE TARRIO,
ETHAN NORDEAN,
JOSEPH BIGGS,
ZACHARY REHL,
and
DOMINIC PEZZOLA,
did knowingly conspire and agree together and with each other to prevent by force, intimidation,
and threat, any person, that is, Members of the United States Congress and law enforcement
officers, from discharging any duties of any office, trust, and place of confidence under the United
States, and to induce by force, intimidation, and threat, any officer of the United States, that is,
Members of the United States Congress and law enforcement officers, to leave the place where

their duties as officers were required to be performed.

(In violation of Title 18, United States Code, Section 372)

26
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 27 of 32

COUNT FIVE
(18 U.S.C. § 231(a)(3), 2)
(Civil Disorder and Aiding and Abetting)
115. Paragraphs 1 through 24 and 29 through 108 of this Indictment are re-alleged and
incorporated as though set forth herein.
116. As set forth in paragraphs 81, 82, and 91, on or about January 6, 2021, in the District
of Columbia and elsewhere, the defendants,
ETHAN NORDEAN,
JOSEPH BIGGS,
ZACHARY REHL,
ENRIQUE TARRIO,
and
DOMINIC PEZZOLA,
committed and attempted to commit an act to obstruct, impede, and interfere with law enforcement
officers, lawfully engaged in the lawful performance of their official duties, incident to and during
the commission of a civil disorder which in any way and degree obstructed, delayed, and adversely
affected commerce and the movement of any article and commodity in commerce and the conduct

and performance of any federally protected function.

(In violation of Title 18, United States Code, Section 231(a)(3), 2)

27
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 28 of 32

COUNT SIX
(18 U.S.C. § 1361, 2)
(Destruction of Government Property and Aiding and Abetting)
117. Paragraphs 1 through 24 and 29 through 108 of this Indictment are re-alleged and
incorporated as though set forth herein.
118. As set forth in paragraph 81, on or about January 6, 2021, in the District of
Columbia and elsewhere, the defendants,
ETHAN NORDEAN,
JOSEPH BIGGS,
ZACHARY REHL,
ENRIQUE TARRIO,
and
DOMINIC PEZZOLA,
did willfully injure and commit depredation against property of the United States, and of any
department and agency thereof, and any property which has been and is being manufactured and
constructed for the United States, and any department and agency thereof, that is a black metal

fence, causing damage in an amount more than $1000.

(In violation of Title 18, United States Code, Section 1361, 2)

28
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 29 of 32

COUNT SEVEN
(18 U.S.C. § 1361, 2)
(Destruction of Government Property and Aiding and Abetting)
119. Paragraphs 1 through 24 and 29 through 108 of this Indictment are re-alleged and
incorporated as though set forth herein.
120. As set for the in paragraphs 93 and 94, on or about January 6, 2021, in the District
of Columbia and elsewhere, the defendants,
ETHAN NORDEAN,
JOSEPH BIGGS,
ZACHARY REHL,
ENRIQUE TARRIO,
and
DOMINIC PEZZOLA,
did willfully injure and commit depredation against property of the United States, and of any
department and agency thereof, and any property which has been and is being manufactured and
constructed for the United States, and any department or agency thereof, that is a window adjacent

to the Senate Wing Door of the U.S. Capitol, causing damage in an amount more than $1000.

(In violation of Title 18, United States Code, Section 1361, 2)

29
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 30 of 32

COUNT EIGHT
(18 U.S.C. § 111(a)())
(Assaulting, Resisting, or Impeding Certain Officers)
121. Paragraphs 1 through 24 and 29 through 108 of this Indictment are re-alleged and
incorporated as though set forth herein.
122. As set forth in paragraph 87, on January 6, 2021, in the District of Columbia,
ETHAN NORDEAN,
JOSEPH BIGGS,
ZACHARY REHL,
ENRIQUE TARRIO,
and
DOMINIC PEZZOLA,
with intent to commit a felony, that is, obstruction of an official proceeding, as charged in Count
Two of this indictment, did forcibly assault, resist, oppose, impede, intimidate, and interfere with,
an officer and employee of the United States, and of any branch of the United States Government

(including any member of the uniformed services), by throwing a water bottle at law enforcement.

(In violation of Title 18, United States Code, Section 111(a)(1))

30
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 31 of 32

COUNT NINE
(18 U.S.C. § 111(a)(1))
(Assaulting, Resisting, or Impeding Certain Officers)
123. Paragraphs 1 through 24 and 29 through 108 of this Indictment are re-alleged and
incorporated as though set forth herein.
124. As set forth in paragraph 86, on or about January 6, 2021, in the District of
Columbia,
ETHAN NORDEAN,
JOSEPH BIGGS,
ZACHARY REHL,
ENRIQUE TARRIO,
and
DOMINIC PEZZOLA,
with intent to commit a felony, that is obstruction of an official proceeding, as charged in Count
Two of this Indictment, did forcibly assault, resist, oppose, impede, intimidate, and interfere with,
an officer and employee of the United States, and of any branch of the United States Government
(including any member of the uniformed services), and did make physical contact with that officer
and employee, while such person was engaged in and on account of the performance of official

duties.

(in violation of Title 18, United States Code, Section 111(a)(1))

31
Case 1:21-cr-00175-TJK Document 380 Filed 06/06/22 Page 32 of 32

COUNT TEN
(18 U.S.C, § 2112)
(Robbery of Personal Property of the United States)
125. Paragraphs 1 through 24 and 29 through 108 of this Indictment are re-alleged and
incorporated as though set forth herein.

126. As set forth in paragraph 86, on or about January 6, 2021, in the District of

Columbia,

DOMINIC PEZZOLA,
by force and violence and by intimidation, did take and attempt to take, from the person and
presence of a Capitol Police officer, personal property belonging to the United States, that is, a riot
shield.

(In violation of Title 18, United States Code, Section 2112)

A TRUE BILL

FOREPERSON

Madeckins My sraves Ly

MATTHEW M. GRAVES
U.S. ATTORNEY FOR THE UNITED STATES
IN AND FOR THE DISTRICT OF COLUMBIA

32
